Case 1:19-md-02875-RMB-SAK           Document 2729        Filed 05/23/24       Page 1 of 2 PageID:
                                          100930



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  IN RE VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                        MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                          HON. RENEE MARIE BUMB
                                                           CIVIL NO. 19-2875 (RBK)

  THIS DOCUMENT RELATES TO ALL
  CASES




                       PLAINTIFF MSP RECOVERY CLAIMS,
                  SERIES LLC’S MOTION TO SUBSTITUTE COUNSEL

        Plaintiff, MSP Recovery Claims, Series LLC (“MSPRC”), respectfully requests that

 Jorge Mestre, Andres Rivero, Alan Rolnick, and Schneur Zalman Kass of the law firm Rivero

 Mestre LLP (collectively, “Rivero Mestre”) be permitted to withdraw as counsel of record for

 MSPRC in the Losartan and Irbesartan actions and that Janpaul Portal of the MSP Recovery Law

 Firm be substituted in their place. MSPRC consents to the requested substitution, and Rivero

 Mestre will remain as counsel for MSPRC for the Valsartan action.

 Dated: May 23, 2024
                                                     Respectfully submitted,

                                                     RIVERO MESTRE LLP
                                                     /s/ Jorge A. Mestre
                                                     Jorge A. Mestre
                                                     2525 Ponce de Leon Blvd., Suite 1000
                                                     Miami, Florida 33134
                                                     Telephone: (305) 445-2500
                                                     jmestre@riveromestre.com

                                                     MSP RECOVERY LAW FIRM
                                                     Janpaul Portal
                                                     27701 S. Le Jeune Road, 10th Floor
Case 1:19-md-02875-RMB-SAK             Document 2729      Filed 05/23/24      Page 2 of 2 PageID:
                                            100931



                                                     Coral Gables, FL 33134
                                                     (305) 614-2222
                                                     jportal@msprecoverylawfirm.com


                                 CERTIFICATE OF SERVICE

        I CERTIFY that on May 23, 2024, I electronically filed the foregoing with the Clerk of

 the Court by using the CM/ECF system, which will send a notice of electronic filing to all

 CM/ECF participants in this matter.

                                                            /s/ Jorge A. Mestre
                                                            Jorge A. Mestre




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